Case 20-62169-lrc      Doc 77Filed 09/08/20 Entered 09/09/20 11:38:01        Desc Main
                              Document     Page 1 of 3
                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                          )   Case No.:      24   -624 9-ae
                                                )
                                                )   Judge:        tt; 40 144 1 2e, 673
                                                )
                                                )   Chapter:

           Debtor(s)

                                      AMENDMENT



aa„-/                                 Ze




Dated:                          Signature(s):



                                Printed Name(s):       Sk4-

                                                      /‘Ff'
                                Address:
                                                               /e2,4
                                Phone:              W7941 4 7 • / SS
                   Case 20-62169-lrc                       Doc 77   Filed 09/08/20 Entered 09/09/20 11:38:01                                         Desc Main
                                                                    Document      Page 2 of 3
Fill in this information to identify your case:


                                                                         -
Debtor 1

Debtor 2
                 erna4I-
                     Irst Name
                                                              416"7
                                                    Middle Name          Last Name


(Spouse, if filing) First Name                      Middle Name          Last Name


United States Bankruptcy Court for the: /60 4fem District of        ceeyri.4-
Case number
 (If known)
                           z0-4 070'-i-eee
                                                                                                                                                       14heck if this is an
                                                                                                                                                         amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                 12/15


  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                     Sign Below



        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


        la Yes. Name of person                                                                    . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                     Signature (Official Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that they are true and correct.




              tgy ture of Debtor 1                                           Signature of Debtor 2


          Date
                 [The                4 41   67c -   J72             2O       Date
                  10/1/   DD     /   YYYY                                            MM / DD /   YYYY
         Case 20-62169-lrc          Doc 77     Filed 09/08/20 Entered 09/09/20 11:38:01            Desc Main
                                               Document      Page 3 of 3


                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF GEORGIA
                                                       DIVISION


    IN RE:
               04    /4 144/Sth                            Case No:   24-14/49 z/ge,
                                                           Chapter


                     Debtor(s)

                                              CERTIFICATE OF SERVICE


       I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter mentioned,
    was more than 18 year of age, and that on the ?-• day of                 wive,- ma, I served a copy of the
    AMENDMENT which was filed in this bankruptcy matter on the              day of 440.00044, 202-a

    Mode of service (check one):                   MAILED                    HAND DELIVERED

    Name and Address of each party served (If necessary, you may attach a list.):
    0
              6.11
    Trustee          0.   a                  i-editor
        finewitt-c            iss
                                    (LT - Address
a4&td.dia-5-
  211, 1tr ."
    ‘6


    I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOJ1G IS TRUE AND CORRECT.

    Dated.       404453 2o2                Signature:

                                           Printed Name:

                                           Address:



                                           Phone:               ---‘67/70 -6,76-X5Si
